













NUMBER 13-06-265-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


___________________________________________________________________


RUBEN GARCIA,		Appellant,


v.



THE STATE OF TEXAS,	Appellee.

___________________________________________________________________


On appeal from the 156th District Court


of Aransas County, Texas.


___________________________________________________________________


MEMORANDUM OPINION


	

Before Chief Justice Valdez and Justices Yañez and Garza


Memorandum Opinion Per Curiam


	Appellant, RUBEN GARCIA,  perfected an appeal from a judgment entered by
the  36th District Court of Aransas County, Texas, in cause number A-05-0187-CV-B. 
The notice of appeal was filed on May 17, 2006.  Pursuant to Tex. Gov't Code
§51.207(b)(1) and § 51.941(a)(1), a filing fee in the amount of $125.00 is due upon
the filing of an appeal.  To date, appellant has failed to pay the filing fee.  

	On August 17, 2006, pursuant to Tex. R. App. P. 42.3(c), notice was given to
appellant that he was delinquent in remitting this filing fee and that, unless the filing
fee was paid within ten days from the date of receipt of this Court's notice, this appeal
would be dismissed.   To date, appellant has failed to respond to this Court's notice.

	The Court, having considered the documents on file and appellant's failure to
comply with the rules, is of the opinion that the appeal should be dismissed.  The
appeal is hereby DISMISSED.

									PER CURIAM

Memorandum Opinion delivered and filed 

this the 21st day of December, 2006.


